                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR 07-0100
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 DON HENRY NEWMAN,                                  RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________


                        I. INTRODUCTION AND BACKGROUND
         On November 28, 2007, a six-count Indictment was returned against the defendant
Don Henry Newman. On January 31, 2008, the defendant appeared before United States
Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the Indictment.
On January 31, 2008, Judge Scoles filed a Report and Recommendation in which he
recommended that defendant’s guilty plea be accepted. On January 31, 2008, Defendant
filed a Waiver of Objections to Report and Recommendation. The court, therefore,
undertakes the necessary review of Judge Scoles' recommendation to accept defendant’s
plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the

       Case 1:07-cr-00100-LRR-MAR        Document 47      Filed 02/01/08    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of January 31,
2008, and accepts defendant’s plea of guilty in this case to Count 1 of the Indictment.
       IT IS SO ORDERED.
       DATED this 1st day of February, 2008.




    Case 1:07-cr-00100-LRR-MAR          Document 47      Filed 02/01/08    Page 2 of 2
